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                           EXHIBIT O
                  Case 23-34815 Document 467-17 Filed in TXSB on 06/11/24 Page 2 of 3
RE: Notice of Deposition of Trustee

From: R. J. Shannon <rshannon@shannonleellp.com>                           Tue, Jun 11, 2024 at 9:50 AM CDT (GMT-05:00)
To: Mark Smith <msmith@bn-lawyers.com>
Cc: Jeff Steidley <jeff@texlaw.us>; Jetall Legal <legal@jetallcompanies.com>

Mark, Jeff, and I assume Ali using an alias email,

As discussed, the Trustee is simply not available for a deposition on June 13 or June 14. As reflected in the attached,
he has been unavailable on June 13 since way back in May. June 14 is a more recent conflict, but that is the kind of
thing that happens over time.

Apparently, I was wrong about it being hearings. On June 13 it is a ½ day mediation with Judge Isgur for which Murray
needs to prepare that morning. On June 14 it is a 2-hour CLE in the middle of the day for which the Trustee also has
to prepare.

To accommodate you the best we can, the Trustee could be available remotely Sunday afternoon for 1-2 hours. But
we would need know what you want to depose him about. As I’ve said before, I don’t see what relevant personal
knowledge the Trustee could have as to the requirements for confirmation under Bankruptcy Code § 1129. And when I
tried to come up with other ways to get you the information I imagined you might want, you did not respond.

This is a problem of your own making. I tried to talk you out of moving the June 6 deposition and told you that it would
be difficult to get it rescheduled on short notice. The concept may be foreign to you, but I was being sincere. The NBK
Plan was pending for more than 2 months at this point, and you could have obtained discovery at any point. You are
just attempting to cause delay and impose an undue burden and it is not fooling anyone.

If I have to file a motion for protective order, we will be seeking expenses.

Thanks,
R. J.



--
R. J. Shannon
Partner
Shannon & Lee LLP
Cell: (512) 693-9294
rshannon@shannonleellp.com

From: Mark Smith <msmith@bn-lawyers.com>
Sent: Monday, June 10, 2024 11:42 PM
To: R. J. Shannon <rshannon@shannonleellp.com>
Cc: Jeff Steidley <jeff@texlaw.us>; Jetall Legal <legal@jetallcompanies.com>
Subject: Notice of Deposition of Trustee

R.J.,

See attached notice of deposition.

Regards,

Mark

 Mark E. Smith
 Barron & Newburger, PC
5555 West LoopCase
               South,23-34815
                      Suite 235 Document 467-17 Filed in TXSB on 06/11/24 Page 3 of 3
Houston, TX 77401
713.955.6191 |Office
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Attachments

  FW_ Deposition.msg.pdf
